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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

JOHNNY TRAWEEK                                                     CIVIL ACTION
VERSUS                                                             NO. 19-1384
MARLIN GUSMAN, ET AL.                                              SECTION: "G" (1)


Supplement to Plaintiff’s Opposition to LeBlanc’s Second Motion for Summary Judgment


       In December 2020, the Special Litigation Section of the Department of Justice’s Civil

Rights Division (DOJ) and the three United States Attorney’s Offices for the State of Louisiana

opened an investigation into the Louisiana Department of Public Safety and Corrections’ (LDOC)

time computation and release practices.

       On January 25, 2023, the DOJ published its Findings Report, wherein it concluded that

“LDOC incarcerates thousands of individuals each year beyond their legal release dates in

violation of the Fourteenth Amendment of the United States Constitution. These violations are

pursuant to a pattern or practice of infringements on the constitutional rights of incarcerated

persons.” See Exhibit A (Findings Report) at 1 (emphasis added).

       The DOJ specifically found that: (1) LDOC denies individuals’ due process rights to timely

release from incarceration; (2) LDOC’s failure to implement adequate policies and procedures

causes systemic overdetentions; and (3) LDOC is deliberately indifferent to the systemic

overdetention of people in its custody. The DOJ summarized its findings as follows:

       Since at least 2012, more than a quarter of the people set for release from LDOC’s
       custody each year are instead held past their release date, in violation of the due
       process protections of the Constitution. These violations are severe, systemic, and
       are both caused and perpetuated by serious ongoing deficiencies in LDOC’s
       policies and practices. LDOC has persisted with these unconstitutional practices
       despite at least a decade of notice and clear recommendations for fixing the
       problem.



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Id. (emphasis added).

           Plaintiff respectfully submits the Final Report and related materials as supplemental

authority in further opposition to LeBlanc’s Second Motion for Summary Judgment:

           •   Exhibit A: DOJ Findings Report, dated January 25, 2023, entitled “Investigation of the
               Louisiana Department of Public Safety & Corrections”

           •   Exhibit B: DOJ Letter, dated January 25, 2023, to Governor John Bel Edwards,
               “Notice Regarding Investigation into the Louisiana Department of Safety and
               Corrections”

           •   Exhibit C: DOJ Statement, dated January 25, 2023, entitled “Justice Department Finds
               Louisiana Department of Public Safety and Corrections Violates the Constitution By
               Incarcerating People Beyond Their Release Dates”

         The DOJ’s blockbuster findings underscore the evidence already in the record: James

LeBlanc has been deliberately indifferent to LDOC’s long and widespread practice of

overdetaining people who are entitled to immediate release. This systemic pattern and practice of

unconstitutional behavior has resulted in egregious harm to Plaintiff and is contrary to LeBlanc’s

assertion that he did not cause an unreasonable delay that violated Plaintiff’s Constitutional rights.1

                                                Respectfully submitted,

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1
    See R. Doc. 153-2 at 9.


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   EXHIBIT
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     INVESTIGATION OF THE
   LOUISIANA DEPARTMENT OF
 PUBLIC SAFETY & CORRECTIONS




           United States Department of Justice
                  Civil Rights Division


                        January 25, 2023
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                                        I.         INTRODUCTION


         The United States Department of Justice (Department) conducted an investigation of the
Louisiana Department of Public Safety and Corrections (LDOC) under the Civil Rights of
Institutionalized Persons Act (CRIPA). 1 The investigation determined that LDOC incarcerates
thousands of individuals each year beyond their legal release dates in violation of the Fourteenth
Amendment of the United States Constitution. These violations are pursuant to a pattern or
practice of infringements on the constitutional rights of incarcerated persons.
        While people convicted of a crime and sentenced to prison must serve their time, LDOC
routinely confines people far past the dates when they are legally entitled to be released from
custody. Since at least 2012, more than a quarter of the people set for release from LDOC’s
custody each year are instead held past their release date, in violation of the due process
protections of the Constitution. These violations are severe, systemic, and are both caused and
perpetuated by serious ongoing deficiencies in LDOC’s policies and practices. LDOC has
persisted with these unconstitutional practices despite at least a decade of notice and clear
recommendations for fixing the problem. LDOC must act to end the overdetention of people in
its custody.

                                             II.     SUMMARY


        The Department provides notice of the following practices that violate the constitutional
rights of individuals incarcerated by LDOC:
       •   LDOC denies individuals’ due process rights to timely release from incarceration.
           LDOC violates the constitutional rights of people in its custody by detaining them for
           weeks and often months past their release dates. According to the most recent available
           data, of the 4,135 people released from LDOC’s custody between January and April
           2022, 1,108 (or 26.8 percent) were held past their release dates. The median number of
           days an overdetained individual was held past their release date was 29; 2 31 percent were
           held over for at least 60 days; and 24 percent were held over for at least 90 days. In just
           this four-month period, LDOC had to pay parish jails an estimated $850,000, at a
           minimum, in fees for the days those individuals were incarcerated beyond their lawful
           sentences. At that rate, this unconstitutional practice costs Louisiana over $2.5 million a
           year.



1
    42 U.S.C. § 1997 et seq.
2
 Our findings use the median, rather than the average, number of days by which people were overdetained by
LDOC. This is because the average number of days by which people were overdetained is skewed due to outliers.


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    •   LDOC’s failure to implement adequate policies and procedures causes systemic
        overdetentions. LDOC has failed to implement policies and procedures to ensure the
        timely release of individuals in its custody. LDOC does not have a uniform system for
        receiving necessary sentencing documents from the Clerks of Court and Sheriff’s offices.
        Nor does it establish a standard timeline for the delivery of those documents. LDOC
        maintains a time-consuming process for calculating release dates, which includes both
        manual calculations and automated processes using an antiquated data management
        system. And it lacks a standardized training or accountability process to ensure its staff
        have the ability to make sentencing computations accurately. These systemic
        deficiencies predictably result in delays and errors. Furthermore, LDOC effectively
        prevents itself from addressing these problems in an informed manner by failing to track
        overdetention-related data. LDOC’s failure to remedy these deficiencies is the direct
        cause of its pervasive failure to release individuals from its custody on time.

    •   LDOC is deliberately indifferent to the systemic overdetention of people in its
        custody. For more than ten years, LDOC has been on notice of its overdetention
        problem and has failed to take adequate measures to ensure timely releases of
        incarcerated individuals from its custody. A 2012 Six Sigma report as well as Legislative
        Audits conducted in 2017 and 2019 revealed severe, systemic delays in the processing of
        the necessary records from courts and local facilities, inefficient data management,
        poorly defined procedures, and a lack of training and oversight that have all contributed
        to a consistent pattern of overdetention. In addition, LDOC and its officials have faced
        numerous private lawsuits alerting them to on-going deficiencies in their processes.
        Still, LDOC has never implemented the reform that constitutional violations of this
        magnitude requires. The reform it has pursued has been too narrow to correct the system-
        wide causes of overdetention, and some undertakings have failed entirely, as in LDOC’s
        effort to implement a new Offender Management System in 2015.
        As a result of the systemic deficiencies identified in our investigation, thousands of
individuals annually suffer the significant harm of having their freedom unconstitutionally
denied by their overdetention in LDOC’s custody. The COVID-19 pandemic drastically
increased the harms associated with overdetention, as the correctional environment carries an
elevated risk of contracting COVID-19 and because of the general inability to maintain social
distancing in such settings. 3

        Overdetention likewise carries numerous collateral harms to both incarcerated individuals
and their families, including missed important family milestones, lost opportunities to say
farewell to dying loved ones, lost or missed job opportunities, and diminished opportunities to
fully re-integrate into society.


3
  Alexander C. Tsai, MD, et al., Association Between Prison Crowding and COVID-19 Incidence Rates in
Massachusetts Prisons, April 2020-January 2021, JAMA Internal Medicine (Aug. 9, 2021) (finding that there was a
six times higher risk of contracting COVID-19 in the Massachusetts prisons as compared to the risk to the general
public).

                                                        2
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        Consistent with CRIPA’s statutory requirements, this Findings Report and accompanying
cover letter provide notice of the conditions that violate the constitutional rights of individuals
detained in LDOC’s custody, the facts supporting those conclusions, and the minimum remedial
measures necessary to address the identified deficiencies.


                                         III.     INVESTIGATION


        In December 2020, the Special Litigation Section of the Department’s Civil Rights
Division and the three United States Attorney’s Offices for the State of Louisiana opened a
CRIPA investigation into LDOC’s time computation and release practices. 4 Our investigation
focused on whether LDOC detains people in its custody beyond their release dates. This
investigation considered all relevant information, including efforts the State and LDOC have
taken to ensure compliance with the Constitution. Additionally, we reached out to current and
formerly incarcerated persons, their families, and community advocates to better understand their
perspectives of the impact of overdetention on incarcerated individuals.
         Three expert consultants aided our investigation and provided specialized expertise in
areas related to sentence computation practices, data and management analyses, technology
systems, and statutory sentencing structures. Our consultants were engaged based on their
significant collective experience helping jurisdictions enhance and extend their operational
capabilities in correctional facilities, their prior leadership roles in state correctional agencies,
and their expertise performing complex data management assessments for jurisdictions,
including municipal agencies in Louisiana. Collectively, these consultants either directly
interviewed or participated in interviews conducted by Department attorneys of 24 LDOC staff
and administrators; reviewed thousands of pages of documents, including internal and external
audits of LDOC’s sentencing computation practices; analyzed current and historical data
retrieved from LDOC’s system for tracking all incarcerated individuals in its custody; and
reviewed quality assurance methods. They also interviewed third parties, including leadership
and members of the Louisiana Sheriffs’ Association and Louisiana Clerks of Court Association,
to better understand the full extent of the sentence computation process, the responsibilities those
entities have in the process, and their coordination efforts with LDOC. Our consultants relied on
all this information to inform this investigation and provide their expert opinions.
        The State and LDOC cooperated fully in our investigation, despite the challenges posed
by the pandemic, and provided additional interviews and documents in response to our follow-up
requests.




4
  https://www.justice.gov/opa/pr/justice-department-announces-civil-investigation-louisianas-prisoner-release-
practices.

                                                         3
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                                              IV.     BACKGROUND


            A.      Overview of Individuals in LDOC Custody

        When a person is convicted and receives a state felony sentence of “confinement at hard
labor” in Louisiana, they enter LDOC’s custody at the moment the court hands down the
sentence. 5 LDOC currently detains in its legal custody approximately 26,000 people serving
Louisiana state prison terms. 6 Due to capacity limits at state-run correctional facilities, LDOC
relies on local parish jails and private facilities throughout the state to house people serving state
sentences. 7 Regardless of where an incarcerated individual is housed, however, they remain in
LDOC’s legal custody once they are sentenced. 8 LDOC reimburses local and private facilities
for the costs incurred housing those in LDOC’s legal custody on a daily, or per diem, basis. 9
Approximately 13,000 people serving state sentences in LDOC’s custody are housed in 104 local
parish jails, at a cost of approximately $350,000 per day.
        Under Louisiana law, LDOC has the authority to establish minimum standards that parish
jails must follow in order to house people in LDOC’s custody. 10 LDOC typically establishes
these standards through agreements known as Basic Jail Guidelines, which the Louisiana
Sheriffs’ Association (LSA) agrees to on behalf of the parish jails that house people with state
sentences. Alternatively, in some cases LDOC enters into contracts with local facilities known
as Cooperative Endeavor Agreements (CEAs) to formalize housing standards.
            B.      LDOC’s Preclassification Department and the Sentencing Process

       LDOC’s Preclassification Department (known as “Preclass”) is responsible for collecting,
maintaining, and managing sentencing information and related records for individuals in state
custody. Preclass is also responsible for calculating release dates—referred to as time

5
    Crittindon v. LeBlanc, 37 F.4th 177, 184 (5th Cir. 2022); La Rev. Stat. §§ 14:2, 15.824.
6
  The total number of individuals in state custody fluctuates on a daily basis as individuals are sentenced or released.
The numbers available on LDOC’s website are not consistent. The “Demographic Dashboard” states that there are
approximately 26,000 individuals in state custody, with approximately 13,000 held in parish jails (Demographic
Dashboard - Louisiana Department of Public Safety & Corrections). The FAQ section of the website states that
there are “more than 36,000 serving time for state felonies,” and “[c]apacity at state facilities is just under 19,000.”
(Frequently Asked Questions - Louisiana Department of Public Safety & Corrections).
7
  https://doc.louisiana.gov/public-programs-resources/frequently-asked-questions/ (“Louisiana simply doesn’t have
the capacity to house all of people serving time for state felonies in state correctional facilities. Capacity at state
facilities is just under 19,000. Therefore, the state relies upon parish and private facilities throughout Louisiana to
house and care for people serving time for state felonies. The state reimburses these entities for housing people
serving time for state felonies.”).
8
    Crittindon, 37 F.4th at 184, 191.
9
    Id.
10
     La. C. Cr. P. Art 892; La. Rev. Stat. §15:566.


                                                            4
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computations—for individuals in state custody and for the timely processing of their release
from incarceration. Preclass is located at three regional facilities around the state, each of which
is responsible for a distinct group of parishes. 11 In order for Preclass to carry out its
responsibilities once an individual is sentenced to state custody, even if that individual is entitled
to immediate release at the time of sentencing, Preclass collects a set of records from the Clerk of
Court and the parish jail where the individual is housed. 12

        When an individual is sentenced to State custody, the Clerk of Court completes the Bill
of Information, which includes charge information and the offense date, and attaches it to a
Uniform Commitment Order, which contains the sentencing information and requires the
signature of the presiding judge. The clerk then forwards these documents to the Sheriff in the
parish where the convicted individual is housed. There is no uniform state-wide process for
transmitting these documents, despite the fact that over five years ago LDOC declined the
Louisiana Clerks of Court Association’s (LCCA) offer to send the documents to LDOC
electronically because LDOC claimed it did not have the capability to receive the documents
electronically. Typically, they are mailed or hand-delivered to the Sheriff’s office.

        Once the local parish Sheriff’s office receives the sentencing paperwork from the Clerk
of Court, it collects those documents with additional records into a “preclass packet,” which it
then sends to Preclass for time computation. 13 There is no uniform procedure governing the
delivery of documents from the Sheriff’s office to Preclass. In some jurisdictions, the Sheriff’s
office physically drives the documents to the regional Preclass office; in others, the Sheriff sends
documents by mail or fax. In recent years, LDOC began giving Sheriffs the option of emailing
documents, although few jurisdictions appear to have adopted that method.

       Preclass packets are critical because Preclass cannot calculate an individual’s sentence
without the preclass packet. Preclass even requires a sentence calculation before releasing
someone entitled to immediate release at the time of sentencing. For individuals who should
have been released at the time of their sentencing, our investigation found that from January
through April of 2022, it took an average of 21 days for LDOC to receive preclass packets from
the courts and Sheriff’s offices, and when the preclass packets were finally received, anywhere
from 8 to 16 percent were still deficient in some manner due to missing or incorrect documents,
adding further delay while the individuals remained confined.



11
   LDOC Headquarters’ Regional Preclass Department is responsible for the southern parishes and all women
statewide who are sentenced to state custody. Raymond Laborde Correctional Center’s Regional Preclass
Department is responsible for the Orleans, Jefferson, and St. Tammany parishes. David Wade Correctional Center’s
Regional Preclass Department is responsible for the northern parishes.
12
   With a few exceptions, all pretrial detainees are housed in parish facilities, and the small number of individuals
who are housed in state facilities pretrial are transferred back to a parish facility for sentencing. Therefore, Preclass
must collect records from the parish facility to complete time computations even if the individual will ultimately be
transferred to a state facility after time computation is complete.
13
  In addition to the Uniform Commitment Order and Bill of Information, the preclass packet includes the
individual’s Basic Information Interview Sheet, Jail Credit Form, photograph, and fingerprint card.


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           C.       Time Computation and Release Procedures

       There is further delay even after Preclass receives a corrected preclass packet and can
begin the time computation process. During the same January to April 2022 period, it took an
average of an additional 24 days after their preclass packets were delivered to LDOC for people
designated as immediate releases to actually be released.
       Preclass uses a system called the Criminal and Justice Unified Network (CAJUN) to
process time computations and calculate release dates. Used since 1991, CAJUN is LDOC’s
primary system for tracking people in its custody. LDOC also uses a separate electronic
document database called Oracle to maintain incarceration records after an individual has been
sentenced to state custody.
        While the specifics of the time computation process vary based on the circumstances of
each incarcerated individual, it generally involves manually inputting a combination of
sentencing information into CAJUN, determining the applicable statute related to good time
credits, and calculating the individual’s parole eligibility. The Preclass employee then uses
CAJUN to generate a release date based on this information.
         Once time computation is complete, release procedures begin for individuals entitled to
immediate release. LDOC has described this process as “cumbersome and time consuming.” A
supervisor reviews the time computation and, where the individual is not housed in an LDOC
facility, Preclass contacts the local facility for potential detainers, additional sentences, transfers,
and other relevant housing information. Preclass then reviews the individual’s criminal history,
and if any charges remain open—i.e., if the records do not show that all charges have been
cleared—Preclass calls the courts and district attorneys to confirm the resolution of each arrest
that does not have a disposition. Preclass also confirms whether the incarcerated individual’s
DNA is on file with the State Police and checks any victim notification requirements.
        Once these procedures are complete, Preclass issues a release certificate, and forwards it
as appropriate to the housing facility or Probation and Parole office, at which point the individual
should be released. Preclass then updates the CAJUN database and scans release documents into
Oracle.

                                     V.       CONDITIONS IDENTIFIED


        CRIPA allows the Department to investigate violations of the constitutional rights of
persons in correctional facilities when such violations are “pursuant to a pattern or practice of
resistance to the full enjoyment of such rights.” 14 The Due Process Clause of the Fourteenth
Amendment mandates that no state shall “deprive any person of life, liberty, or property, without
due process of law.” 15 Given the “‘importance and fundamental nature’ of the individual’s right

14
     42 U.S.C. §§ 1997(1)(B)(ii), 1997a(a).
15
     U.S. CONST. AMEND. XIV, §1.

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to liberty,” the Supreme Court has recognized that incarceration “for any purpose constitutes a
significant deprivation of liberty that requires due process protection.’” 16 These due process
protections extend to the right to timely release from incarceration. 17
           A.       Individuals in LDOC Custody are Being Overdetained Past Their Release
                    Dates in Violation of the Fourteenth Amendment.

        The fundamental duties of a jailer “include not only the duty to protect a prisoner, but
also the duty to effect his timely release.” 18 The Fifth Circuit has held that an overdetention of
30 days or more “constitutes a deprivation of due process,” 19 and that “it is without question”
that holding an individual for a month beyond their release date “constitutes a denial of due
process.” 20 While courts in the Fifth Circuit (and elsewhere) have not adopted a bright line rule
regarding whether overdetention of less than 30 days would amount to a constitutional violation,
other Circuits have held that even delays of less than 48 hours can be unconstitutional depending
on the circumstances. 21

                    1.       Overdetentions of more than 30 days

        LDOC routinely detains people more than 30 days past their release date. The most
recent available data set shows that 544 people were overdetained more than 30 days between
January and April 2022. These figures are in line with data from the previous year, which show
that 561 individuals were held for more than 30 days past their release date between June and
September 2021. Under clearly established Fifth Circuit law, each of these overdetentions is
presumptively a due process violation. 22




16
     See Foucha v. Louisiana, 504 U.S. 71, 80 (1992) (internal citations omitted).
17
     Porter v. Epps, 659 F.3d 440, 445 (5th Cir. 2011).
18
     Whirl v. Kern, 407 F.2d 781, 792 (5th Cir. 1968); Crittindon, 137 F.4th at 189.
19
  Porter, 659 F.3d at 445; Douthit v. Jones, 619 F.2d 527, 532 (5th Cir. 1980) (“Detention of a prisoner thirty days
beyond the expiration of his sentence in the absence of a facially valid court order or warrant constitutes a
deprivation of due process.”).
20
     Crittindon v. LeBlanc, 37 4th at 188.
21
  Davis v. Hall, 375 F.3d 703, 713 (8th Cir. 2004) (“[E]ven a thirty-minute detention after being ordered released
could work a violation of a prisoner’s constitutional rights under the Fourteenth Amendment.”); Berry v. Baca, 379
F.3d 764, 773 (9th Cir. 2004) (finding the “question of reasonableness [of a 29-hour overdetention] is properly
conceived of as a jury determination”); Lewis v. O'Grady, 853 F.2d 1366, 1370 (7th Cir. 1988) (“It is for a jury to
determine whether the 11 hours it took the sheriff to discharge Lewis was reasonable.”). A proposed class action
settlement resolving overdetention claims recently filed in the Northern District of California awarded payments to
individuals held as little as 12 hours past their valid release dates. Camarlinghi v. Santa Clara Cnty., No. 21-cv-
03020-EJD (LB), ECF No. 76 (N.D. Cal. Aug. 12, 2022). In addition, under Louisiana law, a person may not be
detained after arrest for more than 48 hours without a probable cause determination. La. Code Crim. Pro. 230.2.
22
     Porter, 659 F.3d at 445; Douthit, 619 F.2d at 532.


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                    2.       Overdetentions of less than 30 days

         LDOC also routinely detains people less than 30 days past their release date. While these
instances are not presumptive constitutional violations under Fifth Circuit precedent, they are
still likely to be found unconstitutional here. In order to determine whether overdetentions under
30 days amount to constitutional violations, courts most commonly look at (1) the duration of the
overdetention and (2) whether the overdetention was caused by reasonable administrative
procedures. 23

        First, the January–April 2022 data set shows that the median length of overdetention for
people in LDOC custody is 29 days. Of the individuals overdetained for less than 30 days, 50
percent were held for at least 15 days past their release dates. Therefore, even those individuals
held less than 30 days generally still spent weeks incarcerated past their release date. This factor
weighs in favor of finding due process violations here.

         Second, LDOC cannot claim that delays of days or weeks are the result of necessary
administrative procedures. A jurisdiction that has held an individual past their release date may
not rely on a “general assertion that certain steps must be completed prior to release.” 24 Instead,
it must explain “why those steps are necessary or why they take a particular period of time to
complete.’” 25 No court has ever condoned administrative delays lasting close to the amount of
time LDOC routinely takes to release prisoners.

       As detailed below, the procedures LDOC currently has in place to obtain accurate
sentencing information and to perform time computations before releasing an individual from
custody involve unreasonable and unnecessary delays. Consequently, even when an individual
in LDOC custody is overdetained by fewer than 30 days, it is likely a due process violation.

           B.       LDOC is Responsible for the Due Process Violations Arising from the
                    Systemic Overdetention of Individuals in its Custody.

        LDOC’s pattern and practice of depriving those in its custody of their Fourteenth
Amendment right to timely release is the direct result of its numerous failures to adopt functional
policies and procedures and adequately train its employees despite knowing about these systemic
deficiencies for at least ten years.




23
   Berry, 379 F.3d at 771; Lewis, 853 F.2d at 1369–70; Traweek v. Gusman, 414 F. Supp. 3d 847, 868 (E.D. La.
2019) (“That an inmate has a due process right to ‘timely’ release from custody after a judicial determination that he
is entitled to release begs the question: how much time is reasonable and how much tolerance is there for
administrative delay attendant to processing an inmate’s release?”); Green v. Baca, 306 F.Supp.2d 903, 918 (C.D.
Cal. 2004).
24
     Berry, 379 F.3d at 770–71.
25
     Id. (quoting Green, 306 F.Supp.2d at 918).


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                     1.       LDOC is legally responsible for all individuals sentenced to state
                              custody.

        According to Louisiana state law, once an individual is convicted of a state felony, legal
custody of the individual is transferred from the Sheriff to LDOC. 26 Consequently, LDOC’s
legal custody over individuals convicted of state felonies begins at the time of sentencing, at
which point LDOC is responsible for ensuring that it obtains these individuals’ preclass packets,
enters their information into CAJUN, calculates their release dates, and releases them in a timely
manner. 27 This is true even where an individual is sentenced to time-served; once that state
conviction is handed down, the person is in LDOC’s legal custody and LDOC is responsible for
ensuring that the individual is released in a timely manner. 28
        LDOC retains legal responsibility for all people in its custody, including those held in
parish jails as opposed to a state penitentiary, 29 a fact which LDOC itself has acknowledged in
ongoing litigation. This is demonstrated by the Basic Jail Guidelines. LDOC created these rules
and standards that parish jails must follow in order to house people in LDOC’s custody as part of
a 1996 settlement that ended over 20 years of court supervision and consent decrees concerning
almost all of Louisiana’s jails and prisons. 30 LDOC has explained that the purpose of the
guidelines is “to assure that the fundamental constitutional rights” of individuals in LDOC
custody “housed in local jails would not be jeopardized.” The guidelines are drafted and
periodically updated by LDOC, and they provide LDOC with significant influence over the
operation and management of parish jails as it relates to the people in LDOC’s custody. As the
Fifth Circuit recently held, “[t]hrough the promulgation of the Basic Jail Guidelines . . . there is
ample evidence that [LDOC officials] had power to control the facilities in which [LDOC]
housed its prisoners.” 31
                     2.       Deficiencies in LDOC’s policies and practices are the cause of systemic
                              overdetentions.

         LDOC is liable for a constitutional violation when its polices or practices “causally
result[ ]” in the violation. 32 In examining causation, courts may properly consider how
individual policies or practices interact with one another within the larger system, such that the


 La. Rev. Stat. § 15:824(A); (C)(1); La. Code Crim. Proc. Art. 933(3) (a “felony” is defined as “an offense that
26

may be punished by death or by imprisonment at hard labor”).
27
   See Crittindon, 37 F.4th at 183 (pursuant to the Basic Jail Guidelines “parish jails housing state prisoners must
send pre-classification paperwork to DPSC so that DPSC can enter the prisoner's information into its computer
system, calculate the prisoner's release date, and issue the release”).
28
     Crittindon, 37 F.4th at 184, 187.
29
     La. Rev. Stat. § 15:824(A).
30
     Crittindon, 37 F.4th at 182.
31
     Id. at 191.
32
     Id. at 186.


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harm caused by a particular policy or practice may be exacerbated or mitigated. 33 A “policy or
custom” can include a “policy of inaction”; in other words, LDOC can be liable for a failure to
adopt a policy and a failure to train or supervise subordinate officials when that inaction results
in a constitutional violation. 34

         LDOC has legal responsibility for the people in its custody and has authority over the
local parish facilities where they are housed. 35 As part of that legal responsibility, which attaches
from the moment an individual is convicted of a state felony, LDOC must ensure that it receives
the necessary paperwork, processes an individual’s release, and actually releases the individual
in a timely manner. 36 In light of this duty, it follows that deficiencies in LDOC’s policies and
practices “causally result” in the systemic overdetentions of incarcerated people in their
custody. 37 Specifically, the long-standing and widespread overdetention of LDOC prisoners is
the result of LDOC’s failures in three areas: (a) failure to adopt adequate policies related to the
delivery of sentencing paperwork to LDOC for individuals in LDOC custody who are housed in
parish jails; (b) failure to adopt adequate time computation and data management processes; and
(c) failure to adequately train LDOC employees.

                               a.       Failure to adopt policies related to the delivery of sentencing
                                        paperwork for individuals housed in parish jails

        Despite its legal responsibilities for the people in its custody and its ability to exercise
control over local parish facilities where they are housed, LDOC has failed to implement basic
policies and practices necessary to ensure that it receives complete and accurate preclass packets
in a timely manner. Preclass does not have any procedure or mechanism in place to learn when
an individual has been sentenced to state custody prior to its receipt of the preclass packet from
the local facility housing the individual. Preclass does not get involved with or exert influence
over the part of the post-sentencing process that causes the majority of the delays resulting in
overdetention—the transfer of sentencing paperwork from the Clerk of Court to the Sheriff and
the subsequent transfer of the preclass packet from the Sheriff to Preclass.

        As outlined above, upon sentencing, the Clerk of Court prepares the Bill of Information
and Uniform Commitment Order, which the judge signs. These documents are not submitted
electronically; instead, they are typically delivered by either physical mail, fax, or hand delivery
depending on the parish. Once the parish jail receives the paperwork from the court, it assembles
the preclass packet. But again, there is no standard procedure for submitting these documents to
LDOC. Sheriffs’ offices may mail them, email them, or drive them over to Preclass, depending
on the parish. On average, based on data from January to April 2022, it took 21 days from the

33
     See M. D. by Stukenberg v. Abbott, 907 F.3d 237, 255 (5th Cir. 2018).
34
   Connick v. Thompson, 563 U.S. 51, 61–62 (2011); see also Porter, 659 F.3d at 446; Crittindon v. LeBlanc, 37
F.4th 177, 186 (5th Cir. 2022).
35
     La. Rev. Stat. §15:824.
36
     Crittindon, 37 F.4th at 182–184.
37
     Crittindon, 137 F.4th at 186–87.

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time of sentencing for LDOC to receive the preclass packets for individuals who were entitled to
immediate release at the time of sentencing.

        LDOC has known since 2012 that developing a system with the functionality to receive
preclass packets electronically would dramatically improve the timely delivery of preclass
packets to LDOC. Still, LDOC has never taken steps to implement such a system. In fact, when
the Clerks of Court Association offered to begin electronically submitting sentencing documents
to LDOC in 2016, LDOC refused, claiming that it would create more work for his department.
Six years later, LDOC still does not have any formal plan to adopt a system that would allow it
to receive sentencing information and records electronically from the courts or even to track
delay attributable to the courts. LDOC has never asked the Clerks of Court Association for input
in developing any new system related to time computation, sentencing calculations, or
paperwork submission.

       During the Department’s investigation, both Secretary James LeBlanc, LDOC’s Chief
Executive Officer, and LDOC’s Undersecretary of the Office of Finance and Management
acknowledged that restructuring the Basic Jail Guidelines and CEAs to require the timely
delivery of sentencing documents from the parish jails is entirely within LDOC’s control. 38
Secretary LeBlanc further acknowledged that LDOC could institute a policy of tracking the
frequency of delayed or deficient preclass packets in order to identify the specific parish jails
contributing to these issues and address them accordingly.

        Even once it receives the preclass packet, LDOC has no defined formal process that
Preclass follows in the event it receives incorrect or incomplete paperwork from the parish.
LDOC personnel stated that around 5 to 10 of every 60 preclass packets received daily are
missing at least some documents. When Preclass receives a deficient packet, an analyst reaches
out to a point of contact at the parish jail who submitted the packet. If the analyst is unable to
acquire the requested information from the point of contact, the analyst alerts a manager to
receive assistance in coordinating with the parish jail to receive the missing information. The
analyst is then expected to create a case narrative outlining the steps taken to get in contact with
the parish jail and acquire the missing preclass documents, and then upload the case narrative
into Oracle.

        While LDOC designed its case narrative policy to ensure that the narratives provide
“documentation for future reference” with respect to delays in processing cases, the current
model does not allow Preclass to effectively identify and prioritize preclass document requests
and follow-up actions based on case narratives. This deficiency stems from limitations on how
Preclass analysts can access case narratives in Oracle once they are uploaded. In order to locate
a case narrative and identify an outstanding preclass document request, an analyst must perform
a manual review of individual Oracle files. Oracle also indexes and stores case narratives

38
  In July 2022, LDOC drafted revised Basic Jail Guidelines that include a deadline of three working days for
Sheriffs to deliver certain documents to Preclass. We were informed by LDOC that the deadline only applies to
certain supplemental documents that may be required after time computation is complete, but does not apply to the
preclass packet itself. The revised guidelines have not been implemented and there is currently no expected
implementation date. Even if the deadline were implemented, there is no system in place to track whether Sheriffs
are complying with the deadline, and no consequences for non-compliance. Nevertheless, the revision
demonstrates LDOC’s ability to impose deadlines, if it chooses.

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involving deficient preclass packets in the same category as case narratives for other topics,
including probation or parole-related matters; there is no way to triage case narratives by topic
area without undergoing a lengthy review. LDOC does not otherwise collect or track data
related to delays caused by receipt of deficient preclass packets, although anecdotally LDOC
personnel have acknowledged this problem as a cause for additional delay.

                       b.     Failure to adopt adequate time computation processes

        Further delays are occasioned by LDOC’s antiquated time computation process, which
relies on manual processes and an obsolete 30-year-old offender management database.
Problems with these systems are compounded by LDOC’s failure to perform adequate quality
checks and audits and to collect data related to time computation errors. While LDOC has plans
to upgrade its time computation system, this investigation raised concerns that the plans are
being implemented in a way that will severely limit their effectiveness.

                              (i)     LDOC’s time computation and release processes are
                                      unnecessarily time-consuming and prone to error.

        For all individuals in LDOC custody, an intake group does an initial screening of the
preclass packet once it is received by Preclass. This process includes verification of the contents
of the preclass packet, entering the information into CAJUN, and scanning documents into
Oracle. While LDOC maintains that intake personnel are told to prioritize the processing and
time computations for people entitled to immediate release, there is no formal policy in place on
how to identify and prioritize these people. Instead, intake personnel are left to visually scan
each person’s preclass packet and guess if the person is due for immediate release and should be
prioritized. This means that while LDOC’s policies call for the prioritization of immediate
releases for release date calculations, a strategy aimed at preventing overdetentions, Preclass
does not give the intake group the tools to operationalize such a policy correctly. In fact, even
when local facilities send daily counts to LDOC, that information is not compared against
CAJUN to identify the potential universe of individuals who may be overdetained.

        Following intake, preclass uses the data entered into CAJUN to generate a sheet
containing the person’s DOC number, length of sentence, and parish of conviction and sends it to
the time computation group. After the time computation group verifies the person’s docket and
offense number in CAJUN, they perform a time computation. Determining a person’s release
date requires a manual calculation that is based on a variety of potential factors, including the
date of sentencing, the length of the sentence, credit for time served, good time credits (including
credits earned for certified treatment and other programs, and credits lost due to behavior), and
parole revocation calculations. The time computation group then utilizes a “check system” to
verify the accuracy of its release date calculations, which requires both the analyst who
performed the time computation and a second analyst to make notations on the calculation sheet
to indicate that they verified the accuracy of the calculation.

        The intake and time computation processes are rife with errors and delays. The legislative
audit conducted in 2017 found that, in a sample of 100 CAJUN files, 19% contained at least one
data error. LDOC responded to the findings by instituting a monthly audit examining release
date calculations across five categories: personal data, time computation, offender class,

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docket/offense, and sex offense. But the 2019 legislative audit continued to find a high rate of
errors—it sampled 40 time computations and found an error rate of 12.5%, and that 52.5% of
computations did not have notations indicating that their accuracy was verified in accordance
with LDOC’s check system. And only after time computation is complete can Preclass begin its
release procedures, which LDOC has described as “cumbersome and time consuming.”
        Delays and errors in time computation and release procedures are ongoing. From January
to April 2022, it took an average of 24 days after preclass packets were delivered to LDOC for
people designated as immediate releases to be released. This alone suggests that LDOC’s
internal “check system” and monthly audit processes are not functioning properly. During our
investigation, we also examined monthly audits from January 2019 to May 2021, and found that
entire groups of audit sheets had incomplete sections, leaving it unclear whether the monthly
auditors had actually completed the auditing process for the sampled time computations for those
months. Relatedly, our review of calculation sheets found that the time computation check
system, in which notations are made on the calculation sheets to verify the accuracy of each
calculation, was not being consistently performed. Often entire sections, and sometimes entire
calculation sheets, were missing one or both notations, leaving it unclear whether the
calculations’ accuracy were ever verified.

                                    (ii)     LDOC does not track data related to time computation.

        LDOC hampers its own ability to address errors and delays in its time computation
process by failing to track overdetention-related data, including the frequency of overdetentions,
the frequency at which courts and parish jails fail to submit timely and complete preclass
packets, and the amount of reimbursement payments sent to parish jails for housing individuals
during periods when they were overdetained. Tracking that information would enable LDOC to
reliably assess the scope and certain root causes of overdetentions, which could then inform
targeted measures to correct deficiencies throughout various steps in the intake and release
process. This would also allow LDOC to reliably assess the ongoing cost of systemic
overdetentions. 39
       Our investigation found that from January to April 2022 alone, LDOC spent at least
$850,000 in reimbursement payments to parish jails for housing people during periods of
overdetention. LDOC is aware that robust and consistent data tracking practices is a key
component of a strategic response to systemic overdetentions, given that it was an important
finding from the 2012 Lean Six Sigma audit. There are, however, no current plans for LDOC to
consistently track overdetention data.




39
  Parish jails have no financial incentive to take affirmative measures to help decrease overdetentions because
LDOC pays the jail for each day of overdetention. That LDOC does not currently assess the cost of overdetentions,
particularly when they are due in part to delays by parish jails in delivering preclass packets, evinces a particular
lack of urgency with respect to understanding the scope of the ongoing overdetentions.

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                                   (iii)    LDOC’s projected data modification projects will not
                                            prevent the overdetention of individuals in LDOC
                                            custody.

        LDOC and the Office of Technology Services (OTS), which is part of the Louisiana
Division of Administration, are currently working on a data modernization project. These efforts
include the development and implementation of the Corrections Information Program and
Records System (CIPRS), a new Offender Management System (OMS). When finished, LDOC
will use CIPRS to manage all electronically stored records and information related to a convicted
individual’s custody. While updating LDOC’s offender management system is potentially an
important step toward resolving some of the issues related to overdetention, it is important to
note that CIPRS, as currently designed, will not address significant fundamental problems
contributing to the overdetention of people in LDOC custody:

     •   CIPRS will not include a system for the electronic submission of preclass packets and
         other necessary sentencing documents. While LDOC management acknowledges that the
         electronic submission of preclass packets is central to resolving LDOC’s overdetention
         issues, there are no plans to integrate that function into the upcoming CIPRS system.

     •   CIPRS lacks a system for receiving daily information regarding new convictions from
         state court, which would allow LDOC to identify people in its custody prior to receiving
         their preclass packets from the parish jails.

     •   CIPRS lacks the capacity to receive and track timely updates regarding offender activities
         and other events that could trigger an eligibility change or key date shift that may result
         in new release date.

         LDOC also plans to incorporate a stand-alone time computation component into CIPRS
that is being developed by a third-party vendor, Mi-CASE, which is designed to perform
automated calculations of inmates’ sentences, jail time credits, and release dates. This approach
is highly unusual. Generally, states will acquire a full-scale system from a vendor that
incorporates all necessary functions in order to avoid potential data transfer and data tracking
issues between multiple systems.

        LDOC’s unique approach entails serious risks, in particular with respect to whether the
two systems can be functionally integrated. Even if they can be, the development and
implementation of CIPRS is planned in nine phases, of which only three have a scheduled
release date. 40 CIPRS will not have the functionality to replace CAJUN until later phases of the
project, meaning that LDOC will have to continue using CAJUN and Oracle to manage offender
records in the meantime.

       This means that, for the foreseeable future, the data upon which Mi-CASE relies will
need to come from CAJUN and Oracle, which operate in a different format. In order for Mi-

40
  The Mi-CASE component was projected to be delivered in late 2022. Of the nine phases of the CIPRS project,
only Release 1.0 has been deployed, and Releases 1.1 and 1.2 were targeted for completion in Fall 2022. As of the
date of this letter, the Mi-CASE component and Releases 1.1 and 1.2 were still undergoing testing and may not be
complete until early 2023. Releases 2 through 9 have no scheduled completion date.

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CASE to function properly, each individual data element in CAJUN and Oracle will need to be
mapped to the proper data fields in Mi-CASE, a large and complex undertaking. Data mapping
of historical records for currently incarcerated offenders will need to be addressed at the same
time, and it is imperative that there are sufficient audit systems in place to ensure that, once
mapped, the historical records remain accurate. While the incremental data mapping of
historical records is currently underway, LDOC does not appear to have plans or resources in
place for necessary tasks associated with their data mapping efforts. For instance, it is unclear
whether LDOC has an adequate strategy for performing audits to validate the accuracy of
historical data.. In the absence of such an effort, Mi-CASE’s ability to improve time
computation outcomes and prevent further overdetentions is unclear.

        Finally, LDOC’s failure to address the problem of information-sharing among courts and
Sheriffs is likely to cause further problems with the Mi-CASE component. For example, if
LDOC does not receive a comprehensive packet of information from a court or parish with all
the required data elements, it is unable to capture the information in CAJUN (and later CIPRS)
and will not have the required data for the Mi-CASE component to accurately execute time
computations. Delays in the transfer of information, delays in following up on requests for data,
high-priority cases packaged in with standard cases, and errors in transcription from paper or
email to the required CAJUN fields are all very likely to occur as a result. Consequently, even if
LDOC does follow-through on its plans for CIPRS and Mi-CASE, the likelihood of incorrect and
delayed processing of releases may remain as high as it is today under the current processes.

                          c.       Failure to Train LDOC Staff

        LDOC’s training programs for the intake and time computation groups further drive
errors and delays. All analysts within Preclass receive the same initial orientation training. This
training consists of four modules: (1) Verifying Paperwork; (2) Updating CAJUN; (3) Time
Computation; and (4) After Time Computation. According to Preclass personnel, the initial
module-based training covers only the basics of Preclass functions and does not address the more
complex aspects of release date calculations that are likely to drive errors, namely the variety of
issues that may emerge on account of the numerous, and sometimes unique, factors guiding a
given calculation. Further, not all basic Preclass functions are reflected in the module training
program. For instance, the modules do not contain instructions on the release date calculation
check system or the monthly auditing system, key time computation group functions. 41
        As a result, a significant portion of the on-the-job training for the time computation group
takes place either after an error has occurred or concerns about an individual case have been
raised. During weekly staff meetings, for instance, supervisors conduct additional trainings for
the time computation analysts that range from 30 minutes to two hours depending on the topic.
These trainings often involve scenario-based topics based upon observed difficulties or concerns
experienced by the analysts. Lastly, there are one-on-one spontaneous trainings that are
conducted in response to unusual release date calculation scenarios. These one-on-one trainings
may also be conducted in response to observed errors in an analyst’s calculations, though they

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   On November 17, 2022, LDOC initiated a pilot program to cross-train employees in intake and time computation,
which LDOC believes will allow it to deploy employees more effectively. As of the date of that discussion, it was
too early for LDOC to assess the impact of the program. LDOC is also in the process of adding additional group
training sessions to its schedule, but those trainings would be based on the existing modules.

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are not informed by monthly release date calculation audit results. This approach is reactive as
opposed to proactively ensuring that each analyst is prepared for the variety of scenarios they are
likely to encounter.
       LDOC also insufficiently updates the training materials for its initial orientation modules,
which were originally created in 2013 and have not been revised since late 2018. 42 Given the
frequent turnover in the Preclass and known gaps in time computation analysts’ preparedness,
ensuring the thoroughness of the initial module training program is critical.
                    3.       LDOC is acting with deliberate indifference because it has known for a
                             decade that its policies unconstitutionally cause the overdetention of
                             people in its custody.

        LDOC is liable for Fourteenth Amendment violations when it acts, or fails to act, with
“‘deliberate indifference,’ a ‘disregard [for] a known or obvious consequence of [their]
action[s].’” 43 This standard requires LDOC to have ‘actual or constructive notice’ that its failure
to adopt policies or adequately train employees will result in constitutional violations. 44 The
notice requirement “typically requires showing notice of a ‘pattern of similar constitutional
violations’ due to deficient policies, permitting the inference that Defendants deliberately chose
policies causing violations of constitutional rights.” 45
        LDOC is deliberately indifferent in its failure to implement adequate policies and
adequately train its employees in order to prevent systemic overdetentions. Our investigation
uncovered a decade long pattern of violations dating back to at least 2012, when Secretary
LeBlanc initiated a project to audit the Preclass time computation process in partnership with
Lean Six Sigma. The Lean Six Sigma audit found that it took, on average, 110 days from the
date of an individual’s conviction for LDOC staff to process and complete a person’s time
computation. This led to a backlog of over 1,400 cases that were awaiting a time computation, 83
percent of which were for people being overdetained.
         More recent data collected in the course of this investigation show that the problem
continues unabated. Specifically, the Division’s expert consultants examined data from a four-
month sample period from each of the years 2012, 2017, 2021 and 2022, and found mounting
instances of overdetention totaling 522, 677, 1102 and 1108, respectively. In those data sets,
between 49 and 67% of the individuals overdetained were held more than a month past their
release date. LDOC itself reported that in 2017, there was an average of 200 cases a month
considered immediate release, and that these individuals were held an average of 49 days past
their release date.


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   LDOC informed us on November 17, 2022, that it had begun the process of revising the modules, although there
is no formal deadline for their completion. LDOC estimates that they could be complete by the summer of 2023.
43
     Crittindon, 37 F.4th at 186; see also Porter, 659 F.3d at 446–47.
44
  Crittindon, 37 F.4th at 186 (addressing a failure to adopt policy claim); Porter, 659 F.3d at 446–47 (addressing a
failure to train claim).
45
     Crittindon, 37 F.4th at 186; see also Porter, 659 F.3d at 446–47.


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        The 2012 Six Sigma audit attributed overdetention to delays associated with both the
delivery of preclass packets from the courts and the parish jails and deficient training and
workflow processes in LDOC’s time computation groups. It also noted that LDOC’s insufficient
training for Preclass functions was a root cause of systemic overdetentions, and that, due to the
high amount of staff turnover with its time computation analysts, it was important for LDOC to
develop standardized and comprehensive training materials to account for the variance in
experience within Preclass. The Fifth Circuit recently held that “the relevance of the Six Sigma
study is obvious—that the defendants were each keenly aware of the flaws of the system that
failed to timely release prisoners.” 46 The court concluded that LDOC officials “cannot avoid the
evidence that the study exposed unlawful detention of prisoners. A reasonable factfinder would
likely conclude that Defendants’ awareness of this pattern of delays and their conscious decision
not to address it rise to the level of deliberate indifference.” 47
        Our investigation found that LDOC had ample notice from additional sources of the
decade-long pattern of overdetention. In addition to the Six Sigma audit, LDOC’s notice of the
pattern of overdetention is evidenced by the 2017 and 2019 Louisiana legislature audits of
LDOC’s records management systems that alerted LDOC to deficiencies in its training
protocols. 48 The former, a performance audit report, found that LDOC’s procedures for
monitoring data entry, especially for people housed in local facilities, were insufficient to
consistently identify data errors. The report also found that LDOC’s process for time
computation lacked standardized guidance, resulting in inconsistent methods and systemic errors.
The 2019 report was a financial audit that evaluated LDOC’s operations and system of internal
quality control. That report found a number of errors in sampled time computations and that
there was insufficient supervisory review of release date calculations.
        In the face of the knowledge that it was systemically overdetaining people in its custody,
LDOC also undermined its own ability to learn about overdetentions through its phone
information line that offered guidance and instructions to families with concerns about delayed
time computations. As recently as 2019, families contacting this line were told that the
timeframe for the completion of time computations was approximately four and a half months
after sentencing, a timeframe that has no basis in LDOC’s formal policies or procedures.
Consequently, any family contacting LDOC regarding a delayed time computation was not
referred to LDOC’s grievance process until after at least four and a half months had passed since
sentencing. For the families of individuals entitled to immediate release, this inaccurate
guidance essentially instructs them not to utilize the grievance process unless they had been
overdetained for approximately four and a half months.


46
     Crittindon, 37 F.4th at 191.
47
     Id. at 187.
48
  Louisiana Legislative Auditor, Mgmt. of Offender Data: Processes for Ensuring Accuracy, Dept. of Corr. 6–9
(Oct. 25, 2017) (“2017 Legislative Audit”), available at
https://app.lla.state.la.us/PublicReports.nsf/1284612EDBDB25E5862581C40056189F/$FILE/0001674C.pdf;
Louisiana Legislative Auditor, Dept. of Pub. Safety and Corr.—Corrections Services, State of La. 1–2 (Oct. 23,
2019) (“2019 Legislative Audit”), available at
https://app.lla.state.la.us/publicreports.nsf/0/b9ba7e809f593d2c8625849c0050eb3b/$file/0001e569.pdf?openelement
&.7773098.

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        At least 15 private lawsuits filed against LDOC in recent years regarding overdetention
have also provided notice of systemic overdetention. 49 Many of these lawsuits not only alleged
that the individual plaintiffs have been overdetained—in one instance for as many as 164 days—
but also alleged an ongoing pattern of overdetentions. 50 While some LDOC officials have
successfully had claims against them in their individual capacities dismissed on qualified
immunity grounds, 51 not one court opinion has undermined the basic factual assertion that a
pattern of unconstitutional overdetention in Louisiana has persisted for years. 52
        In sum, LDOC has been deliberately indifferent to its widespread and persistent pattern
or practice of overdetention for over a decade.
                    4.     LDOC’s inadequate efforts at reform do not mitigate the finding of
                    deliberate indifference.

       Over the past decade, LDOC has intermittently taken steps to address its systemic
overdetention problems. The solutions it has pursued, however, either failed outright or have
been insufficient to achieve genuine reform. They are therefore inadequate to mitigate our
finding of deliberate indifference.

        In the years following the 2012 Six Sigma report, LDOC took steps to implement some
of the report’s recommendations. Specifically, it organized a centralized Preclass Department
(currently spread across three regional offices) and standardized certain preclass procedures.
LDOC also pursued legislative efforts to streamline the paperwork required from the Clerk of
Court, resulting in 2017 legislation requiring the standardized Uniform Commitment Order in
preclass packets instead of the minutes of the sentencing hearing, which were much more time-
consuming to complete. 53 Crucially, however, LDOC did not take any steps to address the

49
   See, e.g., Buchicchio v. LeBlanc, No. 3:22-CV-00147 (M.D. filed La. Mar. 2, 2022); Humphrey v. LeBlanc, No.
3:20-CV-00233 (M.D. La. filed Apr. 15, 2020); Crittindon, et al. v. Gusman, et al., No. 3:17-CV-00512 (M.D. La.
filed Aug. 2, 2017).
50
  See Second Am. Class Action Compl., Humphrey v. LeBlanc, No. 3:20-CV-00233 (M.D. La. Apr. 29, 2021);
Second Am. Compl., Grant v. Gusman, et al., No. 2:17-CV-02797 (E.D. La. Apr. 10, 2018); Am. Compl.,
Crittindon, et al. v. Gusman, et al., No. 3:17-CV-00512 (M.D. La. Aug. 31, 2017).
51
     See, e.g., Grant v. LeBlanc, No. 21-30230, 2022 WL 301546, at *5–6 (5th Cir. Feb. 1, 2022).
52
   See, e.g., id. (acknowledging public reports documenting overdetention while holding those facts did not
overcome qualified immunity); see also Hicks v. LeBlanc, 832 F. App’x 836, 842 (5th Cir. 2020) (recognizing that
“the alleged facts suggest a pattern of over-detention caused by quality control deficiencies and the lack of training
and supervision”); Giroir v. LeBlanc, No. 21-cv-108, 2022 WL 969614, at *7 (M.D. La. Mar. 30, 2022) (holding
that plaintiffs’ allegations of a pattern of overdetention based on the 2012 Six Sigma study demonstrated “a
substantial likelihood of success on the merits” sufficient to proceed on a claim for injunctive relief); Traweek v.
Gusman, No. CV 19-1384, 2021 WL 199387, at *5 (E.D. La. Jan. 20, 2021) vacated and remanded on other
grounds sub nom. Traweek v. LeBlanc, No. 21-30096, 2022 WL 2315444 (5th Cir. June 28, 2022) (referencing “a
staggering volume of factual evidence of incompetence and indifference in the Department headed by LeBlanc” and
stating that the “disturbing nature and sheer weight of this ‘pattern evidence’ is compelling”).
53
  The Uniform Sentencing Commitment Order, commonly referred to as the “Uniform Commitment Order” or
“UCO,” is a one-page form order completed at time of sentencing and signed by the sentencing judge that outlines,
among other things, the offense(s) of conviction, date of sentencing, sentence length, any sentence enhancements or
reductions, whether the sentence is to run concurrently to or consecutively with another sentence, and whether the

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report’s recommendation to “reduce the transferring of paper files between institutions,” which
today remains a significant source of the delays causing overdetentions.

       Between July 2012 and June 2016, LDOC paid a vendor $3.6 million dollars to develop a
new Offender Management System (OMS) to replace CAJUN. The new OMS went live on
June 15, 2015, but it experienced a complete system failure just six weeks later. The 2017
Legislative Audit attributed the failure to LDOC “implement[ing] the system without the testing
necessary to ensure it functioned correctly.” 54 The audit further noted that LDOC “staff lacked a
complete understanding of how the OMS worked and how it presented data.” 55 LDOC worked
with the contractor to salvage OMS, but once the contractor’s contract expired in June 2016,
LDOC lacked “the resources and understanding necessary to resolve” the system’s remaining
problems. 56 LDOC thus reverted to CAJUN, despite well-known deficiencies in that system.
For example, CAJUN does not have any automated data input capabilities; instead, all data must
be entered manually, which leads to erroneous and incomplete records. The 2017 audit found
that “CAJUN data is not always accurate, and [LDOC] does not have adequate policies and
procedures to manage offender data.” 57 LDOC still uses CAJUN at present, and it continues to
contribute to overdetentions.

        In 2019, LDOC submitted a grant to the Department of Justice for funding to develop a
new data management system, in which they acknowledged that in 2017, hundreds of people a
month were being overdetained. While LDOC did not receive federal funding at that time, it is
currently undertaking the development of an updated data management system, CIPRS. As
detailed in Section V.B.2.b.iii., the scope of that project is insufficient to address the systemic
deficiencies leading to overdetention.

         Finally, in 2020, LDOC submitted a proposed bill to the state legislature addressing the
delivery of documents from the Clerks of Court to Sheriffs, and LDOC’s time computation for
individuals entitled to immediate release. The bill proposes that the Clerks of Court be allowed
fifteen days to send paperwork to the Sheriff’s office following sentencing. In the case of
immediate releases, it gives LDOC up to fifteen days to complete time computations after LDOC
receives the preclass packet from the Sheriff’s office, and it attempts to shield LDOC from
liability if time computations are completed within that time frame. The bill does not address a
time frame for the delivery of preclass packets from the Sheriffs to LDOC. LDOC is currently
considering whether to resubmit this bill in the next legislative session. If this legislation were to



individual should receive credit for time served. See State of Louisiana Uniform Sentencing Commitment Order,
available at https://www.lasc.org/judicial_admin/forms/UCO_2019.pdf.; see also La. Code Crim. Proc. Ann. Art.
892 B.(1)(b).
54
  2017 Legislative Audit at 11, available at
https://app.lla.state.la.us/PublicReports.nsf/1284612EDBDB25E5862581C40056189F/$FILE/0001674C.pdf.
55
     Id.
56
     Id.
57
     Id. at 2.

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take effect, people entitled to immediate release could be held under Louisiana law for over a
month after their legal release date in violation of their constitutional rights.

       LDOC has therefore remained unable or unwilling to comprehensively address the
decade-long systemic overdetention of people in its custody in violation of their Fourteenth
Amendment right to timely release from incarceration.



                        VI.     MINIMAL REMEDIAL MEASURES



       To remedy the constitutional violations identified in this Findings Report, we recommend
that LDOC implement, at minimum, the remedial measures listed below:

   A.          Technological Upgrades
        1. Short-Term Information Exchange Practices. While developing a third-party
           information sharing system (described below in Section A(2)), implement an interim
           electronic file sharing system that includes, at a minimum, the capacity to:

               a. Share documents and information electronically among courts, parish jails and
                  LDOC, including the electronic submission of sentencing documents, case
                  information updates that are pertinent to new release date eligibility,
                  documents on the offender’s release checklist required for the issuance of a
                  release certificate, and preclass packets from courts and the parish jails to
                  LDOC;

               b. Allow LDOC, the courts, and parish jails to electronically request documents
                  from each other;

               c. Enable LDOC to track and review user activity and document requests.

        2. Long-Term Technological Upgrades

               a. Develop a functioning Criminal Justice Information Sharing (CJIS) system.
                  The CJIS system should be designed to meet constitutionally adequate
                  standards for data definition and exchange protocols. It must include, at a
                  minimum, the capacity to:

                      ii. receive timely notification of when an individual is sentenced to state
                          custody;




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              iii. share documents and information electronically among courts, local
                   jails, and LDOC in a manner that is structured and standardized,
                   including the electronic submission of sentencing documents and
                   preclass packets from courts and the parish jails to LDOC;

              iv. receive timely notice of events and updates that could trigger an
                  eligibility change or key date shift that in turn may result in new
                  release eligibility or release dates;

               v. allow LDOC, the courts, and parish jails to electronically request
                  documents and case information from each other;

              vi. generate an audit log function that would enable LDOC to track and
                  review requests for preclass packet documents;

              vii. receive and track in a timely manner the information and documents
                   on the offender’s release checklist required for the issuance of a
                   release certificate (e.g., warrants/detainers, sex offender registry, DNA
                   files, pending charges).

        b. Ensure that the sentence calculation functionalities that LDOC is planning as
           part of its Mi-CASE component incorporate automated event trackers that
           monitor case information updates and flag cases for automated sentence
           calculation. The automated event tracker must, at a minimum:

             viii. capture sufficient metadata to enable the prioritization of immediate
                   releases for automated sentence calculation;

              ix. include the constant monitoring of subsequent case information
                  updates that are pertinent to new release date eligibility, and the
                  capability to flag such cases for automated sentence re-calculation;

               x. include an audit log that allows Preclass personnel to review in detail
                  events that trigger an automated sentence calculation.

        c. Develop strategies and timeframes for the decommissioning and replacement
           of the legacy CAJUN and Oracle databases with CIPRS, including a plan for
           ensuring that CAJUN and Oracle can compatibly function with Mi-CASE
           while CIPRS is completed.




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  B. Inter-agency Coordination

        a. The Basic Jail Guidelines should be revised to require:

               i. The immediate or near-immediate delivery of preclass packets for
                  those entitled to release upon sentencing, and the timely delivery of all
                  preclass packets as a precondition for reimbursement payments to
                  parish jails;

               ii. The electronic submission of an individual’s preclass packet via a CJIS
                   System or, in the interim, via an electronic file sharing system as
                   described above;

              iii. Daily reports to be electronically sent to LDOC with the number of
                   individuals housed in parish facilities who received state convictions
                   and subsequently entered LDOC’s custody via a CJIS System or, in
                   the interim, via an electronic file sharing system as described above;

              iv. Parish facilities to collect data measuring the timeliness of their receipt
                  of sentencing information from the Clerks of Court, and further require
                  that this data is reported to LDOC in a manner that allows LDOC to
                  sort and prioritize the data to identify individuals considered a high
                  priority for LDOC Preclass processing

               v. Parish jails to provide LDOC with the timely notification of events and
                  updates to an incarcerated individual’s file that would result in new
                  release eligibility, including events and updates that impact an
                  individual’s eligibility for education, program, or good time credits via
                  a CJIS System or, in the interim, via an electronic file sharing system
                  as described above;

              vi. The electronic submission, via a CJIS System or, in the interim, via an
                  electronic file sharing system as described above, of any documents
                  and information prepared or maintained by the parish jails that are
                  necessary for LDOC to release an individual from custody;

              vii. Each parish jail to have a dedicated preclass liaison on staff who is
                   responsible for:

                       1. Ensuring the timely submission of completed preclass packets
                          to LDOC Preclass;




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                       2. Ensuring the timely notification of LDOC Preclass of
                          subsequent case information updates that are pertinent to
                          individuals’ release eligibility;

                       3. Attending mandatory specialized trainings conducted by
                          LDOC Preclass training instructors.

             viii. Ensure that current and future Cooperative Endeavor Agreements
                   incorporate the terms and conditions of the Basic Jail Guidelines.

               ix. Ensure that the Basic Jail Guidelines establish an audit process to
                   evaluate parish jails’ compliance with the revised Basic Jail Guideline
                   provisions implemented in accordance with the minimum remedial
                   measures described in this sub-section.

        b. Institute a policy of tracking the frequency of delayed or deficient preclass
           packets in order to identify the specific courts and parish jails contributing to
           these issues and address them accordingly.

        c. Request that the Clerks of Court ensure that courts provide daily notification
           to LDOC of individuals sentenced to LDOC custody via a CJIS system or, in
           the interim via email using a standardized subject line.

        d. Arrange a meeting between the Sheriffs’ Association and the Clerks of Court
           Association to discuss strategies and timeframes for ensuring that the Sheriffs
           and Clerks of Court are prepared to utilize the CJIS system or, in the interim,
           the electronic file sharing system described above.

  C. Quality Assurance and Supervision

        a. Develop and implement a plan for compiling regularly scheduled reports on
           the frequency and impact of overdetentions, the cause(s) of those
           overdetentions, and any corrective action taken in response. Ensure that such
           reports are stored and maintained electronically.

        b. Develop and implement a comprehensive quality assurance plan to identify
           and correct deficiencies with LDOC’s information management systems to
           ensure data and algorithmic accuracy.

        c. Employ regularly scheduled and documented meetings between the Chief of
           Operations, the Assistant Deputy Secretary for the Office of Adult Services,
           and the Basic Jail Guidelines Coordinator to address existing and emerging
           concerns related to overdetention.

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        d. Conduct a review of Preclass’ auditing protocols and instruments for time
           computations to ensure that audits identify all the elements of the subject
           matter to be audited, include documentation of what was audited, identify
           subject matter compliance and non-compliance with existing policies and
           procedures, and provide recommendations to correct errors or discrepancies
           within a designated timeframe.

        e. Ensure that audit findings are stored and maintained electronically, and are
           incorporated into reviews/revisions of policies and training.

        f. Develop and implement standardized protocols for corrective action in the
           event of identified errors or cases of non-compliance with Preclass policies
           and procedures.

  D. Training

        a. Develop and implement a standardized and documented plan for the delivery
           of comprehensive in-service, supplemental, and remedial training for Preclass
           personnel.

        b. Develop a standardized manual, available for reference, to ensure that
           personnel follow uniform procedures and methodologies in performing
           Preclass functions, including the release date calculation check system,
           monthly auditing for the release date calculations, and methods for prioritizing
           immediate releases for preclass packet processing.

        c. Develop a specialized training program for parish jails’ Preclass liaisons to
           ensure that they follow uniform procedures and methodologies in preparing
           and submitting preclass packets, and notifying LDOC Preclass of subsequent
           case information updates that are pertinent to individuals’ release eligibility.

        d. Develop and implement standardized and documented protocols for annually
           assessing the content and delivery of training, including the ongoing review of
           training curricula, lesson plans, and manuals. This annual review should be
           based upon monthly audit data and observed problem areas to ensure that
           training is incorporating the key functions for Preclass personnel.

        e. Develop and implement a certification process for all time computation
           analysts to ensure that analysts are proficient and qualified to perform time
           computations.




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       E. Policies, Procedures

              a. Develop, revise, and implement adequate policies and procedures to ensure
                 the implementation of the minimum remedial measures identified above.

              b. Ensure that policies and procedures are reviewed on at least an annual basis
                 and updated as necessary.



                                    VII.   CONCLUSION

        In summary, our investigation found reasonable cause to believe that LDOC consistently
detains incarcerated individuals past their release dates in violation of their rights under the
Fourteenth Amendment to the United States Constitution. We conclude that these violations are
pursuant to a pattern or practice of infringement on the constitutional rights of incarcerated
persons.
        We are obligated to advise you that 49 days after issuance of this letter, the Attorney
General may initiate a lawsuit pursuant to CRIPA to correct deficiencies identified in this
Findings Report if State officials have not satisfactorily addressed our concerns. 42 U.S.C.
§ 1997b(a)(1). The Attorney General may also move to intervene in related private suits 15
days after issuance of this Report. 42 U.S.C. § 1997c(b)(1)(A). Please also note that this
Findings Report is a public document. It will be posted on the Civil Rights Division’s website.

       We look forward to working cooperatively with you and LDOC administrators and staff
to ensure that these violations are remedied.




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                                       U.S. Department of Justice




                                                      Civil Rights Division
                                                      Office of the Assistant Attorney General
                                                      950 Pennsylvania Avenue, NW
                                                      Washington, DC 20530

                                                      United States Attorney’s Office
                                                      Eastern District of Louisiana
                                                      500 Poydras Street
                                                      New Orleans, LA 70130


                                                      United States Attorney’s Office
                                                      Middle District of Louisiana
                                                      777 Florida Street, Suite 208
                                                      Baton Rouge, LA 70801


                                                      United States Attorney’s Office
                                                      Western District of Louisiana
                                                      300 Fannin Street, Suite 3201
                                                      Shreveport, LA 71101



                                         January 25, 2023

The Honorable John Bel Edwards
Governor of Louisiana
900 North Third Street
Baton Rouge, LA 70802

       Re:     Notice Regarding Investigation into the Louisiana Department of Safety and
               Corrections

Dear Governor Edwards:

         The Justice Department has completed its investigation into whether the Louisiana
Department of Public Safety and Corrections (LDOC) is engaging in a pattern or practice of
violating the constitutional rights of people in its custody by detaining them at state and local
correctional facilities past their release dates, conducted under the Civil Rights of
Institutionalized Persons Act (CRIPA), 42 U.S.C. § 1997. Consistent with the statutory
requirements of CRIPA, we write to provide this notice of the alleged policies and procedures
that we have reasonable cause to believe violate the Constitution of the United States. The
attached Findings Report details the supporting facts giving rise to those alleged violations and
the minimum remedial measures that we believe may remedy the constitutional violations.

        After carefully reviewing the evidence, we conclude that there is reasonable cause to
believe that LDOC violates the Due Process Clause of the Fourteenth Amendment of the United
States Constitution, and that these violations are pursuant to a pattern and practice of resistance
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The Honorable John Bel Edwards
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to the full enjoyment of incarcerated persons’ constitutional rights. Specifically, we have
reasonable cause to believe that LDOC routinely violates the constitutional rights of people in its
custody by incarcerating them past their legal release date. As detailed in the attached Findings
Report, these violations are in large part caused and exacerbated by systemic deficiencies in
LDOC’s policies and procedures related to the receipt of sentencing documents, computation of
an incarcerated individuals’ release dates, and employee training.

        We are obligated to advise you that 49 days after issuance of this notice, the Attorney
General may initiate a lawsuit under CRIPA to correct the alleged policies and procedures we
have identified, if LDOC officials have not satisfactorily addressed them. 42 U.S.C.
§ 1997b(a)(1). The Attorney General may also move to intervene in related private lawsuits 15
days after issuance of this letter. 42 U.S.C. § 1997c(b)(1)(A). It is our hope, however, to resolve
this matter through a more cooperative approach. We look forward to working with you to
address the alleged violations of law we have identified.

       We thank Secretary James LeBlanc and LDOC leadership for their continued cooperation
with our ongoing investigation. The lawyers assigned to this investigation will be contacting
LDOC to discuss this matter in further detail. Please note that this notice and the attached
Findings Report are public documents. They will be posted on the Civil Rights Division’s
website.

       If you have any questions, please call Steven H. Rosenbaum, Chief of the Civil Rights
Division’s Special Litigation Section, at (202) 616-3244.


                                                             Sincerely,

                                                              /s/ Kristen Clarke
                                                             Kristen Clarke
                                                             Assistant Attorney General
                                                             Civil Rights Division

                                                              /s/ Duane A. Evans
                                                             Duane A. Evans
                                                             United States Attorney
                                                             Eastern District of Louisiana

                                                              /s/ Ronald C. Gathe
                                                             Ronald C. Gathe
                                                             United States Attorney
                                                             Middle District of Louisiana

                                                              /s/ Brandon B. Brown
                                                             Brandon B. Brown
                                                             United States Attorney
                                                             Western District of Louisiana
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The Honorable John Bel Edwards
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cc:     Jeff Landry
        Attorney General, State of Louisiana

        James LeBlanc
        Secretary, Louisiana Department of Safety and Corrections

        Keith Cooley
        Warden, Allen Correctional Center

        Edward Bickham
        Warden, B.B. Rayburn Correctional Center

        Jerry Goodwin
        Warden, David Wade Correctional Center

        Jason Kent
        Warden, Dixon Correctional Institute

        Timothy Hooper
        Warden, Elayn Hunt Correctional Center

        Frederick M. Bouttè
        Warden, Louisiana Correctional Institute for Women

        Darrel Vannoy
        Warden, Louisiana State Penitentiary

        Marcus Myers
        Warden, Raymond Laborde Correctional Center

        Keith Deville
        Warden, Winn Correctional Center
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 JUSTICE NEWS

                                                  Department of Justice

                                                   Office of Public Affairs


FOR IMMEDIATE RELEASE                                                                       Wednesday, January 25, 2023


   Justice Department Finds Louisiana Department of Public Safety and Corrections
    Violates the Constitution By Incarcerating People Beyond Their Release Dates
The Justice Department announced today that it has concluded there is reasonable cause to believe that the Louisiana
Department of Public Safety and Corrections (LDOC) routinely confines people in its custody past the dates when they
are legally entitled to be released from custody, in violation of the Fourteenth Amendment.

Specifically, the department concluded that: 1) LDOC denies individuals’ due process rights to timely release from
incarceration; 2) LDOC’s failure to implement adequate policies and procedures causes systemic overdetentions; and 3)
LDOC is deliberately indifferent to the systemic overdetention of people in its custody. For more than 10 years, LDOC
has been on notice of its overdetention problem and has failed to take adequate measures to ensure timely releases of
incarcerated individuals from its custody. Between January and April 2022 alone, 26.8% of the people released from
LDOC’s custody were held past their release dates. Of those overdetained people, 24% were held over for at least 90
days, and the median number of days overdetained was 29. In just this four-month period, LDOC had to pay parish jails
an estimated $850,000, at a minimum, in fees for the days those individuals were incarcerated beyond their lawful
sentences. At that rate, this unconstitutional practice costs Louisiana over $2.5 million a year.

As required by the Civil Rights of Institutionalized Persons Act (CRIPA), the department provided LDOC with written
notice of the supporting facts for these findings and the minimum remedial measures necessary to address them.

“The Constitution guarantees that people incarcerated in jails and prisons may not be detained beyond their release
dates, and it is the fundamental duty of the State to ensure that all people in its custody are released on time,” said
Assistant Attorney General Kristen Clarke of the Justice Department’s Civil Rights Division. “Our investigation
uncovered evidence of systemic violations by the Louisiana Department of Public Safety and Corrections that have
resulted in the routine confinement of people far beyond the dates when they are legally entitled to be released. We are
committed to taking action that will ensure that the civil rights of people held in Louisiana’s jails and prisons are
protected. We stand ready to work with state officials to institute long overdue reforms.”

“Persons are legally incarcerated every day in America and are ordered by the court to serve certain sentences
primarily for punishment, deterrence and rehabilitation purposes,” said U.S. Attorney Brandon B. Brown for the Western
District of Louisiana. “This ultimately benefits the individual, society and the criminal justice system. There is an
obligation both to incarcerated persons and the taxpayers not to keep someone incarcerated for longer than they should
be. This can be costly from a physical and mental standpoint for the incarcerated individual and a waste of money for
the taxpayer. Timely release is not only a legal obligation, but arguably of equal importance, a moral obligation. We look
forward to working with the Louisiana Department of Corrections to ensure that it has the policy and tools going forward
to prevent overdetention from reoccurring.”

“It is the job of the U.S. Department of Justice to protect the constitutional rights of every person, including individuals
who are incarcerated,” said U.S. Attorney Ronald C. Gathe Jr. for the Middle District of Louisiana. “While all government
agencies operate under constraints, that is no excuse for violating the rights of people who have served their sentences
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and are ready to start their lives anew. Federal law requires equal justice for all. My office is committed to enforcing that
mandate.”

“Today’s findings demonstrate the Department of Justice’s commitment to hold accountable institutions entrusted to
protect the rights of all citizens, including people within the Louisiana Department of Corrections,” said U.S. Attorney
Duane Evans for the Eastern District of Louisiana. “Lawfully convicted people should not serve a day beyond their
official designated release dates. Louisiana is wasting money on incarcerating people beyond their release dates and
incurring legal expenses in defending lawsuits filed by the overdetained. We look forward to working with all affected
parties to correct this problem.”

The Justice Department initiated the investigation in December 2020 under CRIPA, which authorizes the Department to
take action to address a pattern or practice of deprivation of legal rights of individuals confined to state or local
government-run correctional facilities.

Individuals with relevant information are encouraged to contact the Justice Department by phone at 1-833-492-0097, or
by email at community.louisianadoc@usdoj.gov.

For more information about the Civil Rights Division and the Special Litigation Section, please visit:
https://www.justice.gov/crt/special-litigation-section. You can also report civil rights violations to the Civil Rights Division
by completing a complaint form available at: https://civilrights.justice.gov/.

Additional information about the Eastern, Middle, and Western U.S. Attorneys Offices is available
at: https://www.justice.gov/usao-edla , https://www.justice.gov/usao-mdla , and https://www.justice.gov/usao-wdla.

Attachment(s):
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Topic(s):
Civil Rights

Component(s):
Civil Rights Division
Civil Rights - Special Litigation Section

Press Release Number:
23-91
                                                                                                      Updated January 25, 2023
